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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI

Cheryl Compton, John Mills, Jung          )
Moon, Jordan W. Bolden, Brett M.          )
Alexander, Ashley Bryan, Ryan P. Burrus,  )
Steven Hill, Donald Griffith, John Harris,)
Adam Kahn, Jim Kohr, Dianne Lee,          )
Steven Tray Lott, Jonathan McFarland,     )
Johnny Medina, Kaare Melby, Keith         )
William Rose, Alex Schoenstein, Casey     )
Smith, William Smith, Brian Alan Staack,  )
Bradley S. Veltte, and Frederick L. Vickers,
                                          )
                                          )
        Plaintiffs,                       )
                                          )
vs.                                       )
                                          )
                                          )
St. Louis Metropolitan Police Department, )
                                          )
and                                       )
                                          )
The Board of Police Commissioners of the )
St. Louis Metropolitan Police Department, )
                                          )
and                                       )
                                          )
Richard Gray, Jerry Lee, Bettye Battle-   )
Turner, Thomas Irvin, and Francis Slay in )
their official capacities as the Board of )
Police Commissioners of the St. Louis     )
Metropolitan Police Department,           )
                                          )
and                                       )
                                          )
The City of St. Louis,                    )
a local government entity,                )
                                          )
                                          )
        Defendants.                       )

       MOTION FOR EX PARTE TEMPORARY RESTRAINING ORDER

Comes now Plaintiffs, pursuant to Rule 65 of the Federal Rules of Civil Procedure and




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for reasons set forth in this Motion and the accompanying Memorandum in Support move

this Court for entry of an ex parte temporary restraining order, or in the alternative for a

temporary restraining order requiring Defendants, their officers, agents, servants,

employees, and attorneys, and upon those persons in active concert or participation with

them, to allow Plaintiffs and all other political protesters in Keiner Plaza to remain in

Keiner Plaza until this case is resolved on the merits.

1. Entry of an ex parte temporary restraining order is appropriate in this case because

Plaintiffs are likely to succeed on the merits, there is a threat of irreparable harm to

Plaintiffs, no harm will be inflicted upon Defendants should a temporary restraining order

issue, and the issuance of a TRO is in the public interest.

2. Specifically an ex parte TRO is necessary because despite several efforts to notify the

St. Louis City Board of Police Commissioners, the representatives refused to engage in

civil dialogue with legal staff. Two phone calls were made with numerous transfers

requesting to speak with the 4th District Sergeant or Lieutenant. Officers intentionally

“hung up,” on legal staff and advised if we called again they would “hang up,” on us and

“refuse to help in any way.” Officer Melchior, badge number 1774, instructed that he

refused to dialogue and for legal staff to “not call again.”

3. Bond should be waived or set at a nominal amount since there will be no demonstrable

harm to Defendants if their unconstitutional actions are enjoined. Moreover, more than

half of Plaintiffs are poor persons and are unable to access the funds to post surety bond.

4. Accordingly, Plaintiffs request this Court to:

       A.      Issue a temporary restraining order requiring Defendants, their officers,

               agents, servants, employees, and attorneys, and upon those persons in act-




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            ive concert or participation with them, to allow Plaintiff’s use of Keiner

            Plaza for a gathering of members of this organization and until further or-

            der of this Court;

      B.    Waive bond or set bond in a nominal amount; and

      C.    Allow Plaintiffs such other and further relief as is just and proper under

            the circumstances.



                                           Respectfully submitted,



                                           _______________________
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                                           _______________________
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                                           _______________________
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